                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                            Case No. 3:20-CV-00710-FDW-DSC


 HAYWARD INDUSTRIES, INC.,

                       Plaintiff,
                                                    PLAINTIFF HAYWARD INDUSTRIES,
                  v.                                INC.’S MOTION FOR ALTERNATIVE
                                                        SERVICE ON DEFENDANTS
 BLUEWORKS CORPORATION,                            NINGBO C.F. ELECTRONIC TECH CO.,
 BLUEWORKS INNOVATION                              LTD AND NINGBO YISHANG IMPORT
 CORPORATION, NINGBO C.F.                                  AND EXPORT CO., LTD
 ELECTRONIC TECH CO., LTD; NINGBO
 YISHANG IMPORT AND EXPORT CO.,
 LTD.

                       Defendants.


        Pursuant to Federal Rules of Civil Procedure 4(f)(3) and 4(h)(2), and in compliance with

Local Civil Rule 7.1, Plaintiff Hayward Industries, Inc. moves for leave to serve the Summons and

Complaint on foreign defendants Ningbo C.F. Electronic Tech Co., LTD and Ningbo Yishang

Import and Expert Co., LTD (collectively, “Ningbo”) by alternative means—namely, by email and

by posting messages through Ningbo’s interactive website and storefront on Alibaba.com. Such

means is reasonably calculated to provide actual notice to Ningbo, comports with due process, and

is not prohibited by The Hague Convention. Further facts and law supporting this motion are set

out in Hayward’s accompanying memorandum of law and declarations of Erik Paul Belt and

Tiberius Dinu.

        WHEREFORE, Plaintiff Hayward Industries, Inc. respectfully moves this Honorable Court

to permit service on foreign defendants Ningo by alternative means.




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Respectfully submitted this the 21st day of January, 2021,


                                            HAYWARD INDUSTRIES, INC.



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